                                         ATTACHMENT A

       Between January 18, 2023, and January 21, 2023, in Greene County, in the Western District of

Missouri, the defendant, TIMOTHY ZEGAR, knowing that he had previously been convicted of a crime

punishable by imprisonment for a term exceeding one year, did knowingly possess a firearm, to wit, a

Spike’s Tactical, model ST15, .556 caliber rifle, bearing serial number LT003881, which had been

transported in interstate commerce, all in violation of Title 18, United States Code, Sections 922(g)(1)

and 924(a)(8).




         Case 6:23-cr-03016-MDH Document 1-1 Filed 01/31/23 Page 1 of 1
